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                              I.JNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

                                                      )
NELSON VALLE,                                         )
                                                      )
                 Plaintiff,                           )
                                                      )
v.                                                    ) Civil Action No.   3:   16-CV-00277-SRU
                                                     )
GREEN TREE SERVICING LLC,                             )
                                                      )
                 Defendant.                           )


                      STIPULATTON OF DISMISSAL rVrTH PREIUDIçE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(ü), Plaintiff Nelson Valle and Defendant Ditech

Financial LLC, formerly known as Green Tree Servicing LLC, hereby stipulate and agree that all

claims asserted by Plaintiff in the above-captioned action against Defendant shall be dismissed

with prejudice and without costs, and with the parties waiving all rights of appeal.


Dated: Jnly 23,2917                                  Plaintiff
                                                     NELSON VALLE



                                                             Valle (pro se)
                                                     66 Montowese Street
                                                     Hartford, CT 06114
                                                     Tel: 305-791-8959




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        fo:r't
Dated:.Iub. lo,2Ol7                       Defendant
                                          DITECH FINANCIAL LLC, FORMERLY
                                          KNOWN AS GREEN TREE SERVICING
                                          LLC

                                          By its


                                          Shawn Smith
                                          Federal Bar No. CT2834O
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 10,20!7, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court's electronic filing system or by mail as
indicated on the Notice of Electronics Filing. Parties may access this filing through the Court's
CM/ECF System.

Nelson Valle
66 Montowese Street
Hartford, CT 06114

Brunilda ValleCastr o alkl a Brunilda Ramos-Ayala
66 Montowese Street
Hartford, CT 06114




                                                             Shawn S. Smith




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